     Case 8:25-bk-10282-SC        Doc 4 Filed 02/03/25 Entered 02/03/25 14:57:34                Desc
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                                                                       FILED & ENTERED
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                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
6                                                                       BY bolte      DEPUTY CLERK


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                             UNITED STATES BANKRUPTCY COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
10
                                       SANTA ANA DIVISION
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13   In re:                                         Case No.: 8:25-bk-10282-SC
14   Coast Highway Ramfared Trust,                  CHAPTER 7
15                                                  ORDER DIRECTING PETITIONING
                                                    CREDITIOR TO APPEAR AND SHOW
16
                                                    CAUSE WHY THE CASE SHOULD NOT BE
17                                                  DISMISSED

18                                    Debtor(s).
                                                    Date:      February 13, 2025
                                                    Time:     11:00 a.m.
19                                                  Courtroom: 5C
20
21            An involuntary petition was filed against Coast highway Ranfared Trust (the

22   “Alleged Debtor”) on January 31, 2025. The involuntary petition indicates that the

23   Alleged Debtor is a “trust.” Generally, a non-business trust is not eligible to be a debtor

24   in bankruptcy. See, e.g., Hunt v. TRC Props., Inc., (In re Hunt), 160 B.R. 131, 135 (9th

25   Cir. BAP 1993). This is the second involuntary petition filed against the Alleged Debtor

26   The first was filed on January 3, 2025, as Case No. 8:23-bk-10013-SC, and dismissed

27   by an order entered January 14, 2025, as Docket 8 in Case No. 8:23-bk-10013-SC.

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1          Accordingly, the Court finds good cause to require the petitioning creditor, Andy
2    Andalibian (“Petitioning Creditor”), to appear on February 13, 2025, at 11:00 a.m. and
3    show cause why the involuntary petition should not be dismissed as the Alleged Debtor
4    does not appear to be eligible to be a debtor. A response to this order demonstrating
5    why the Alleged Debtor is eligible to be a debtor in a chapter 7 proceeding and
6    supported by admissible evidence must be filed by no later than 1:00 p.m. on February
7    10, 2025.
8          If a response is not timely filed, or a response is filed, but the Petitioning
9    Creditor does not appear at the hearing, the involuntary petition will be dismissed
10   without further notice or hearing.
11         IT IS SO ORDERED.
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25        Date: February 3, 2025

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2                    NOTICE OF ENTERED ORDER AND SERVICE LIST
3           Notice is given by the court that a judgment or order entitled (specify) ORDER
     DIRECTING PETITIONING CREDITIOR TO APPEAR AND SHOW CAUSE WHY THE
4    CASE SHOULD NOT BE DISMISSED was entered on the date indicated as “Entered”
5    on the first page of this judgment or order and will be served in the manner indicated
     below:
6
     SERVED BY THE COURT A copy of this notice and a true copy of this judgment or
7    order was sent by U.S. Mail to the following person(s) and/or entity(ies) at the
     address(es) indicated below:
8
9          Petitioning Creditor
           Andy Andalibian
10         PO Box 9933
           Newport Beach, CA 92660
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